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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                  SAN JOSE DIVISION
                                 Judge Edward J. Davila
                                  Courtroom 4 - 5th Floor
                                 Criminal Minute Order
                                                            TIME IN COURT:    1 hr, 50 mins
                                                                         (9:25 – 11:15 AM)

Date: August 4, 2015                                       U.S. Probation Officer: N/A
Courtroom Deputy: Elizabeth Garcia                         U.S. Pretrial Services Officer: N/A
Court Reporter: Lee-Anne Shortridge                        Interpreter: N/A

CASE NUMBER: 5:11-cr-00214-EJD
TITLE: USA v. Douglas Stroms York (NC)(P)

Government Attorney(s) present: Brianna Penna, Jeff Schenk
Defendant Attorney(s) present: Graham Archer

PROCEEDINGS: Pretrial Conference, Hearing re Motions in Limine (Docs 15 -24)

ORDER AFTER HEARING:
Hearing held.
The Court set the following pretrial and trial dates:
1. Further Pretrial Conference, Motions in Limine, and all other pretrial issues set for August 24,
2015 at 10:00 AM.
2. On or before August 14, 2015 the parties shall submit a joint neutral statement of the case to
use during voir dire, exchange updated witness lists, as well as any other remaining exchange of
information.
3. Jury Selection set for August 25, 2015 at 9:00 AM – 12:00 PM
4. Jury Trial set for
August 25, 2015 at 1:30 PM – 5:00 PM
August 27, 2015 at 1:30 PM – 5:00 PM
August 28, 2015 at 9:00 AM – 12:00 PM, 1:30 PM – 4:30 PM
August 31, 2015 at 9:00 AM – 12:00 PM
September 1, 2015 at 9:00 AM – 12:00 PM, 1:30 PM – 4:30 PM
September 3, 2015 at 9:00 AM – 12:00 PM, 1:30 PM – 4:30 PM
Time excluded from August 4, 2015 through August 25, 2015 for effective preparation of counsel.



P/NP: Present, Not Present                                                            Elizabeth C. Garcia
C/NC: Custody, Not in Custody                                                         Courtroom Deputy
I: Interpreter                                                                            Original: Efiled
                                                                                                     CC:
